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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

EMANI LOVE, et al.,

      Plaintiffs,
                                             Case No. 15-cv-11834
vs.
                                             Hon. Nancy G. Edmunds
RUTH JOHNSON, in her official
capacity as the Secretary of State of
Michigan,

      Defendant.
                                        /


PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION
FOR JUDGMENT ON THE PLEADINGS ON GROUNDS OF MOOTNESS
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                          QUESTION PRESENTED

      Should this Court grant Defendant’s motion for judgment on the pleadings

on grounds of mootness when:

      (1) The motion is based solely on counsel’s mere assertion in a brief
          that the relevant policy has changed;

      (2) There has been no legislative repeal of the challenged policy,
          Defendant has submitted no evidence of the policy change or its
          permanence, and the history of the policy and timing of the
          policy change weigh against a finding that the old policy will not
          be resurrected; and

      (3) The new policy does not completely eradicate the harm that gave
          rise to the instant lawsuit?

      Plaintiffs’ answer: No.




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                               INTRODUCTION

       “The voluntary cessation of challenged conduct does not ordinarily render a

case moot because a dismissal for mootness would permit resumption of the

challenged conduct as soon as the case is dismissed.” Knox v. Service Employees

Int’l Union, Local 1000, 132 S. Ct. 2277, 2287 (2012). In this case, the Secretary

of State has a history going back more than a decade of making unilateral changes

to the state ID policy at issue in this case, including reversing changes in quick

succession and based on political pressure. Now, nearly a year into this litigation

and less than one week before the Secretary’s employees were scheduled to sit for

depositions about the challenged policy, defense counsel have filed a motion

seeking dismissal of this lawsuit on mootness grounds because, they assert, the

relevant policy has changed yet again.

      Under these circumstances, Defendant has not carried her “heavy burden” of

“proving mootness.” Cleveland Branch, NAACP v. City of Parma, 263 F.3d 513,

531 (6th Cir. 2001). Defendant’s motion, which seeks “judgment on the pleadings”

under Fed. R. Civ. P. 12(c), is not accompanied by any evidence regarding the

purported change in policy—such as what motivated it, whether it has been

implemented, or whether it is permanent. Further, although the new policy

described in Defendant’s brief is unquestionably a step in the right direction, it

does not fully eradicate the irrational and unjustified burdens imposed on


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transgender persons’ ability to obtain an accurate driver’s license as a policy, such

as the form used in many other states to prove transgender person’s change of

gender designation would likely have done. Instead, Defendant’s new policy

requires persons to undergo the burden of obtaining a passport that they may not

want or need and that is entirely unavailable to legal residents who are not U.S.

citizens. For these reasons, and as more fully set forth below, Defendant’s motion

should be denied.


                         BACKGROUND AND FACTS

      This lawsuit challenges the Michigan Secretary of State’s policy for

changing the gender on a driver’s license or state ID, because its requirements

make it unduly burdensome, or in some cases impossible, for transgender

individuals to obtain a state ID that accurately reflects their gender. Love v.

Johnson, __ F. Supp. 3d __ (E.D. Mich. 2015) (Dkt. # 36 at Pg ID 325). Under the

policy in place when the complaint was filed, Defendant will not correct the gender

designation on a license or state ID unless presented with an amended birth

certificate showing the correct gender. (Compl. ¶ 3.) The statutory requirements for

amending the gender on a birth certificate vary depending on the state that issued

it, making it extremely difficult or impossible for many transgender people to

correct the gender on their Michigan-issued driver’s license or state ID, depending

on the laws of the state in which they were born. Although the requirements for


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amending a birth certificate in Michigan are statutory, the policy for correcting

gender on a driver’s license or state ID is entirely within the discretion of

Defendant Ruth Johnson. (Id. ¶¶ 2-4, 38-41.)

      Defendant now asserts that she has exercised her discretion to “update” her

policy. (Def.’s Mot. for J. on the Pleadings, Dkt. # 48, at Pg ID 459.) Although no

affidavit or any other form of evidence regarding this purported policy change was

placed in the record, Defendant’s attorneys have stated in their brief that she has

“voluntarily abandoned” the policy that gave rise to this lawsuit, and will now

accept a U.S. passport, passport card, or court order to change the sex on a driver’s

license or state ID. (Id. at Pg ID 460, 462.) “With this updated policy in place,”

Defendant argues, this case should be dismissed as moot. (Id. at 460.)

      Defendant’s purported policy “update” is but the latest in a long series of

changes her office has implemented to the policy being challenged in this case.

(Compl. ¶ 42.) Documents produced by Defendant during discovery show that

there have been at least seven changes to the relevant policy prior to policy change

that purportedly just took place. (See History of Changing Gender Procedure,

Exhibit 1 to Decl. of Jay Kaplan, Exhibit A hereto; Defendant’s Answers to

Plaintiffs’ First Set of Interrogatories, No. 6, Ex 2 to Kaplan Decl.) Significantly,

in at least one instance in 2005, the Secretary of State changed the policy to make

it easier to change the gender designation on a license or ID, only to reverse that


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policy a few weeks later and reinstitute the older, more burdensome policy.

(Kaplan Decl. Exhibit 2 at p. 3.)

      Additionally, socially conservative activists and politicians have used the

policy as a political weapon, placing intense political pressure on Republican

candidates to adopt a more restrictive policy that prohibits gender changes on

driver’s licenses and state IDs. See, e.g., Sec. of State race: Ruth Johnson joins

Rep. Paul Scott in opposing sex change on driver’s licenses (Aug. 20, 2010),

Exhibit 3 to Kaplan Decl. (noting that Gary Glenn said that “we’re glad that Ruth

Johnson has now joined Rep. Paul Scott in expressly stating her opposition to the

Secretary of State policy of allowing men to falsely identify themselves as female

on their state-issued driver’s license, and vice versa,”); Mike Householder,

Michigan Secretary of State candidates make gender an issue? Gender designation

on driver’s license discussed, Associated Press (February 13, 2010), Exhibit 4 to

Kaplan Decl. (noting that Paul Scott’s position that “people who have undergone

gender change operations shouldn’t be able to change their licenses to reflect their

new identities” has drawn “praise by conservative activists”). In the 2010 primary

election for Secretary of State, former Secretary of State Terri Lynn Land was

criticized for the temporary 2005 policy change, and the Campaign for Michigan

Families, run by now-Representative Gary Glenn, demanded to know then-

candidate Ruth Johnson’s position on the issue. See Exhibit 4 to Kaplan Decl.; see


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also August 19-20, 2010 email exchange between the Campaign for Michigan

Families and Ruth Johnson, Exhibit 5 to Kaplan Decl.) Johnson eventually

responded that she did “not support allowing people to change their gender on their

license as a result of surgery or lifestyle.” (Kaplan Decl. Exhibit 5 at p. 3.) Less

than three months after Johnson took office, she instituted the extremely restrictive

2011 policy requiring an amended birth certificate to change the gender on a

driver’s license or state ID. (Compl. ¶¶ 42-44.)

      Prior to the commencement of this lawsuit, the ACLU spent years

attempting to persuade Defendant to change her policy because it was harmful and

unconstitutional, but Defendant refused. (See Kaplan Decl. at Group Exhibit 6)

(letters exchanged between Secretary of State and ACLU in 2005.) In 2004, after

the Secretary of State’s office instituted a surgery requirement for gender changes

on licenses, the ACLU complained to Secretary Land’s office about the change. In

April 2005, the surgical standard was ended, only to be reinstated 18 days later.1

(See, e.g., Gary Glenn, Rep. Scott didn’t pull transgender statement out of thin air;

ACLU has campaigned for official IDs, Flint Journal (February 11, 2010), Exhibit


1
  Director of the Michigan Customer Services Administration, Michael Wartella,
admitted in his deposition that the Land Administration ordered the change and
stated that he was unaware of any other reason for the change. Since Mr.
Wartella’s deposition occurred on March 31, 2016, his transcript is unavailable.
However, Plaintiffs will submit the relevant deposition pages to support this
statement as soon as the transcript is available.


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7 to Kaplan Decl.; see also Exhibit 4 to Kaplan Decl.) In 2011, a new policy was

put into place under Secretary Johnson that continued the requirement for surgery

for persons born in Michigan and other states requiring surgery to amend the

gender on a birth certificate but made it impossible and even more burdensome for

Michigan residents born in states where birth certificate gender changes were

unavailable or required a court order. (Compl. ¶¶ 2-3.)

      Once this lawsuit commenced, Defendant vigorously defended the

constitutionality of her policy through her motion to dismiss (and, when that

motion was denied, her motion for reconsideration). (See Dkt. ## 16, 40.) Even

after this Court, in denying Defendant’s motion to dismiss, effectively ruled that

Defendant’s policy is unconstitutional, Defendant persisted in enforcing and

defending it. (See Def.’s Answer & Affirm. Defenses, Dkt. # 38, at Pg ID 370

(“The Driver’s License policy does not violate any of the Plaintiffs’ constitutional

rights.”).) Then, less than a week before Defendant’s staff were scheduled to be

deposed (see Notice of Depositions, Group Exhibit 8 to Kaplan Decl.) and shortly

after Plaintiffs had noticed a deposition for the Secretary herself (see Notice of

Ruth Johnson Deposition, Exhibit 9 to Kaplan Decl.), Defendant abruptly

announced that her policy has changed and filed the instant motion asking for this

case to be dismissed.




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                                    ARGUMENT

      Defendant’s motion should be denied for three independent reasons. First,

Defendant seeks judgment on the pleadings under Rule 12(c), but there is nothing

in the pleadings that supports dismissal of this case as moot. Second, under the

voluntary cessation doctrine, Defendant has failed to meet her heavy burden of

proving that the wrongful conduct giving rise to this lawsuit will not resume after

the case has been dismissed. And third, the case is not moot because Defendant’s

new policy, although less burdensome than before, has not completely eradicated

the harm that gave rise to this lawsuit.

I.    Judgment on the pleadings is not appropriate because Defendant’s
      motion is based on facts that are not in the pleadings.
      As a threshold matter, Defendant’s motion is fatally flawed under the

applicable legal standard for judgment on the pleadings. “Motions for judgment on

the pleadings pursuant to Federal Rule of Civil Procedure 12(c) are analyzed under

the same standard as motions to dismiss pursuant to Rule 12(b)(6).” Newman v.

Trott & Trott, P.C., 889 F. Supp. 2d 948, 956 (E.D. Mich. 2012) (Edmunds, J.)

(citing Albrecht v. Treon, 617 F.3d 890, 893 (6th Cir. 2010)). Under this familiar

standard, the court must “construe the complaint in the light most favorable to the

plaintiff, accept all its allegations as true, . . . draw all reasonable inferences in

favor of the plaintiff,” id., and deny the motion if the “pleaded factual content




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allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 663 (2007).

      This Court has already denied Defendant’s motion to dismiss under the Rule

12(b)(6) standard. (See Dkt. # 36.) Although Defendant now asserts that the policy

challenged by Plaintiffs’ complaint has been “updated,” Defendant bases that

assertion on facts wholly outside the pleadings—facts set forth only in the text of a

brief authored by Defendant’s counsel. Therefore, under the applicable legal

standard, judgment on the pleadings is not appropriate.

      Had Defendant submitted evidence regarding her purported change in

policy, then it might be appropriate to convert her motion to one for summary

judgment. See Fed. R. Civ. P. 12(d); Max Arnold & Sons, LLC v. W.L. Hailey &

Co., 452 F.3d 494, 502-03 (6th Cir. 2006). However, not a single affidavit or any

other piece of evidence accompanies Defendant’s motion. Therefore, the Court

should decide, and deny, the motion based on the pleadings alone.


II.   Defendant has not met her heavy burden of proving that it is absolutely
      clear that the challenged conduct will not start up again.
      Defendant’s mootness claim is governed by the “voluntary cessation”

doctrine, described by the Supreme Court as follows:

         It is well settled that a defendant’s voluntary cessation of a
         challenged practice does not deprive a federal court of its power
         to determine the legality of the practice. If it did, the courts
         would be compelled to leave the defendant free to return to his


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           old ways. In accordance with this principle, the standard we
           have announced for determining whether a case has been
           mooted by the defendant’s voluntary conduct is stringent: A
           case might become moot if subsequent events made it
           absolutely clear that the allegedly wrongful behavior could not
           reasonably be expected to recur. The heavy burden of
           persuading the court that the challenged conduct cannot
           reasonably be expected to start up again lies with the party
           asserting mootness.

Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 189

(2000) (citations, quotation marks, and alterations omitted; emphasis added). The

“heavy burden” is a burden of proof. See Cleveland Branch, NAACP, 263 F.3d at

531; Vencor, Inc. v. Webb, 33 F.3d 840, 844 (7th Cir. 1994); Carr v. Alta Verde

Indus., Inc., 931 F.2d 1055, 1064 n.7 (5th Cir. 1991). Defendant cannot satisfy this

heavy burden.

      A.      There has been no legislative repeal of the challenged policy.

      Defendant relies principally on Brandywine, Inc. v. City of Richmond, 359

F.3d 830 (6th Cir. 2004), where the Sixth Circuit held that a challenge to the

constitutionality of a city’s zoning ordinance became moot when the ordinance was

repealed. Brandywine is distinguishable, however, because it is based on the

established line of precedent that a legislative repeal ordinarily renders a case

moot, as it is the product of a deliberative process that permanently changes the

law. See, e.g., Kentucky Right to Life, Inc. v. Terry, 108 F.3d 637, 644-45 (6th Cir.

1997). In this case, by contrast, there was no legislative repeal: Defendant



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exercised her unfettered discretion in unilaterally changing the policy, and she is

completely unconstrained from changing it back again.

      The controlling case, therefore, is the Sixth Circuit’s decision in Akers v.

McGinnis, 352 F.3d 1030 (6th Cir. 2003). In Akers, the plaintiffs challenged a

written rule of the Michigan Department of Corrections (MDOC) and, during the

course of the litigation, the rule was substantially revised. The Sixth Circuit

rejected MDOC’s mootness argument: “In the present case, as the promulgation of

work rules appears to be solely within the discretion of the MDOC, there is no

guarantee that MDOC will not change back to its older, stricter Rule as soon as this

action terminates.” Id. at 1035. Here, as in Akers, the challenged policy is solely

within the Secretary of State’s discretion, and she is free to change back to the old

policy as soon as this case is over. 2

      B.     There is no evidence in the record to support Defendant’s motion.

      As noted above, Defendant has submitted absolutely no evidence in support

of her motion. No affidavit or other document proves that the asserted policy


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  Akers is in agreement with other courts that have rejected mootness arguments
based on non-legislative changes in policy. See Bell v. City of Boise, 709 F.3d 890,
900 (9th Cir. 2013) (rejecting mootness argument based on police chief’s “special
order” because it “is not a formal written enactment of a legislative body”); Sefick
v. Gardner, 164 F.3d 370, 372 (7th Cir. 1998) (“[T]he current . . . policy, adopted
after the commencement of this suit, is not implemented by statute or regulation
and could be changed again, so this voluntary cessation of the challenged conduct
does not eliminate the controversy.”).


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change has taken place, proves that it is being implemented, explains what

motivated the purported policy change, or demonstrates that it is permanent. 3 As

soon as this case is dismissed, Defendant will be “free to return to [her] old ways.”

Friends of the Earth, 528 U.S. at 189. With no evidence in the record to support

Defendant’s motion, it is far from “absolutely clear” that, upon dismissal,

Defendant won’t simply resurrect the old policy. Id. If a “heavy burden” of proof

means anything, it means that a defendant cannot prove mootness without an iota

of evidence to support her motion.

      C.     Defendant’s office has a history of changing the policy and
             reversing policy changes under political pressure.
      Defendant’s mootness argument is further weakened by the fact that her

office has a history of making unilateral changes to the policy at issue in this case,

including reversing policy changes in quick succession and under political

pressure. See Wall v. Wade, 714 F.3d 492, 497 (4th Cir. 2013) (holding that a state

prison’s Ramadan policy change did not moot the claims, especially since “the fact

that at least three separate policies have been utilized [] since 2009 indicates some

degree of doubt that the new policy will remain in place for long”); Longstreth v.

Maynard, 961 F.2d 895, 900 (10th Cir. 1992) (finding free exercise challenge was

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  See Harrell v. The Florida Bar, 608 F.3d 1241, 1266 (11th Cir. 2010) (“[W]e
look for a well-reasoned justification for the cessation as evidence that the ceasing
party intends to hold steady in its revised (and presumably unobjectionable)
course.”).


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not moot due to change in hair grooming policy since policy had been repeatedly

changed in the past); Charles v. Daley, 749 F.2d 452, 458 (7th Cir. 1984) (rejecting

mootness argument because state had repeatedly made changes to the policy in

question, thereby persuading the court that additional changes reverting back to the

challenged policy “would not be unlikely”). As in Wall, Longstreth, and Charles,

based on the history of changes specific to the policy in question, there is every

reason to believe that another policy reversal would take place after this case is

dismissed.

       Exhibits 1 and 2 to the Kaplan Decl., produced by Defendant during

discovery, show that there have been at least seven changes to the relevant policy

prior to policy change that purportedly just took place. Significantly, in at least one

instance in 2005, the Secretary of State changed the policy to make it easier to

change the gender designation on a license or ID, only to reverse that policy a few

weeks later and reinstitute the older, more burdensome policy. (Kaplan Decl. Ex 2

at p. 3.)

       Additionally, socially conservative activists and politicians have used the

policy as a political weapon, placing intense political pressure on Republican

candidates to adopt a more restrictive policy that prohibits gender changes on

driver’s licenses and state IDs. In the 2010 primary election for Secretary of State,

former Secretary of State Terri Lynn Land was criticized over the temporary 2005


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policy change, and the Campaign for Michigan Families, run by now-

Representative Gary Glenn, demanded to know then-candidate Ruth Johnson’s

position on the issue. (See Kaplan Decl. at Exhibit 5.) Johnson eventually replied

that she did “not support allowing people to change their gender on their license as

a result of surgery or lifestyle,” earning the praise of the conservative group. (Id.)

When Johnson took office, she instituted the extremely restrictive 2011 policy

requiring an amended birth certificate to change the gender on a driver’s license or

state ID. (Compl. ¶¶ 42-44.)

      Defendant’s recently announced policy evidences Defendant’s awareness of

the political pressure she anticipates, since Defendant has refused to directly adopt

a non-surgical standard for changing the gender on a license—a move that had

resulted in criticism of the Land administration and became an issue in Secretary

Johnson’s campaign—but has instead agreed to accept a passport as proof of a

gender change. It is difficult to believe, however, that Defendant’s new and still-

deficient policy will not result in public criticism, since it allows Michiganders

who are able to obtain a passport to change the gender on their license without

having surgery.

      Based on this history, it is likely, if not certain, that Defendant’s most recent

change in policy will also encounter political resistance from activist groups and

politicians opposed to transgender rights. If this lawsuit is dismissed, there is every


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reason to believe that Defendant—and candidates to succeed her in office—will be

pressured to revert back to the old policy. 4 Absent a final judgment enjoining that

policy as unconstitutional, Defendant and her office would be “free to return to

[their] old ways.” Friends of the Earth, 528 U.S. at 189.

      D.     The timing of Defendant’s motion weighs strongly against
             mootness.
      The timing of Defendant’s purported change in policy also undermines her

claim of mootness. “[A] defendant’s cessation before receiving notice of a legal

challenge weighs in favor of mootness, while cessation that occurs late in the game

will make a court more skeptical of voluntary changes that have been made.”

Harrell v. The Florida Bar, 608 F.3d 1241, 1266 (11th Cir. 2010) (citation and

internal quotation marks omitted). An example is DeJohn v. Temple University,

537 F.3d 301, 309 (3d Cir. 2008), where the court rejected the defendant’s

mootness argument because the change in policy took place “more than a year after

4
  Sadly, anti-transgender legislation has become the political weapon of choice for
reactionary policymakers. See, e.g., Dave Philipps, North Carolina Bans Local
Anti-Discrimination Policies, N.Y. TIMES, (Mar. 23, 2016), Exhibit 10 to Kaplan
Decl. (describing “wide-ranging bill barring transgender people from bathrooms
and locker rooms that do not match the gender on their birth certificates”). In
Michigan, state legislators have been eager to stoke anti-transgender sentiment
based on modest, non-binding recommendations by the state board of education to
create a safe learning environment for LGBTQ youth. See Brian McVicar,
Michigan Lawmaker Says LGBT Guidelines Take Away Parental Rights, ‘Upsets’
Student Privacy, MLIVE, (Mar. 22, 2016), Exhibit 11 to Kaplan Decl. (reporting
that House Speaker Kevin Cotter is condemning the state board of education for
“eliminating parental authority” over “bathroom and locker room access”).


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the commencement of litigation and then only near the end of discovery, less than

three weeks before the dispositive motions deadline in the case.” See also Rich v.

Fla. Dep’t of Corrs., 716 F.3d 525, 532 (11th Cir. 2013) (holding that the change

to the state’s kosher meal policy did not render the plaintiff’s claims moot when

the change was made “late in the game” in the litigation). Similarly, courts reject

mootness arguments when government policies are changed principally “out of a

desire to avoid liability.” Sheeley v. MRI Radiology Network, P.A., 505 F.3d 1173,

1187 (11th Cir. 2007) (reasoning that “[i]f we conclude that [plaintiff’s] claims are

moot, then should [the defendant] determine that future litigation is unlikely, it

may well calculate that its new policy is no longer the preferable course of action

and revert to the old policy it prefers and apparently believes to be legal”); see also

Moyle v. Cty. of Contra Costa, No. C-05-02324 JCS, 2007 WL 4287315, at *13

(N.D. Cal. Dec. 5, 2007) (rejecting mootness argument where challenged strip-

search policy was changed “only in response to litigation”).

      This case is similar. For years prior to the commencement of this lawsuit, the

ACLU attempted to persuade Defendant to change her policy because it was

harmful and unconstitutional, but Defendant refused. (See Kaplan Decl. at Group

Exhibit 6.) Once this lawsuit commenced, Defendant vigorously defended the

constitutionality of her policy through her motion to dismiss (and, when that

motion was denied, her motion for reconsideration). (See Dkt. ## 16, 40.) Even


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after this Court, in denying Defendant’s motion to dismiss, effectively ruled that

Defendant’s policy is unconstitutional, Defendant persisted in enforcing and

defending it. (See Def.’s Answer & Affirm. Defenses, Dkt. # 38, at Pg ID 370

(“The Driver’s License policy does not violate any of the Plaintiffs’ constitutional

rights.”).) Then, less than a week before Defendant’s staff were scheduled to be

deposed (see Kaplan Decl. at Group Exhibit 8) and shortly after Plaintiffs had

noticed a deposition for the Secretary herself (see id. at Exhibit 9), Defendant

abruptly announced that her policy has changed and asked for the case to be

dismissed. Michael Wartella admitted that the change in policy was the result of

this lawsuit, which strongly suggests that if the case is dismissed the Defendant

may sooner or later return to her previous restrictive policy. Sheeley, 505 F.3d at

1189. Therefore, the timing of the purported policy change weighs heavily against

mootness.

                                         ***

      In sum, Defendant has failed to produce any evidence that this case is moot,

and there has been no legislative repeal that would prevent her from returning to

the old policy after this case is dismissed. That she may well do so is supported by

her office’s history of changing the policy at issue and reversing course under

political pressure, as well as the last-minute timing of the purported policy change

that took place here. Based on all these factors, it is far from “absolutely clear” that


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Defendant will not go back to her old policy after this case is dismissed. Friends of

the Earth, 528 U.S. at 189. Defendant carries a “heavy burden” of proof on this

issue, id., which she has not met. For that reason, her motion should be denied.


III.   The case is not moot because the new policy does not completely
       eradicate the harm caused by the challenged policy.
       Even if Defendant were able to prove that the purported changes to her

policy are permanent, dismissal of this case would still be improper because as

explained below, her new policy continues to impose substantial and unjustified

burdens on the ability of transgender people to change the gender designation on

their driver’s licenses and state IDs. In order to meet the heavy burden of

establishing mootness, a defendant must prove not only that its practice has

changed, but additionally that the change has “completely and irrevocably

eradicated the effects of the alleged violation.” Ammex, Inc. v. Cox, 351 F.3d 697,

705 (6th Cir. 2003) (internal quotation marks omitted) (emphasis added). A change

in policy does not automatically render a case moot merely because the new policy

“disadvantages [the plaintiffs] to a lesser degree than the old one.” Ne. Fla.

Chapter of Associated Gen. Contractors v. City of Jacksonville, 508 U.S. 656, 662

(1993). “A case is only moot when a live controversy no longer exists such that a

court is no longer able to affect the legal relations between the parties.” Cam I, Inc.

v. Louisville/Jefferson Cty. Metro. Gov’t, 460 F.3d 717, 719-20 (6th Cir. 2006).



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      The Sixth Circuit’s decision in Cam I, supra, is dispositive. In that case, the

plaintiffs challenged a local licensing ordinance for adult entertainment

establishments on various constitutional grounds. During the litigation, the

ordinance was amended to “ameliorate the harsh effects of the licensing

provisions,” id. at 719, at which point the defendant municipality sought dismissal

on grounds of mootness. The Sixth Circuit rejected the mootness argument

because, although the amended ordinance was an improvement and obtaining a

license was less difficult than under the old ordinance, “[t]he amendments . . . did

not completely remove the alleged harm,” id. at 720 (emphasis added), and the

plaintiffs continued to believe that the ordinance was unconstitutional. “In other

words, where the changes in the law arguably do not remove the harm or

threatened harm underlying the dispute, the case remains alive and suitable for

judicial determination.” Id. (internal quotation marks omitted) (emphasis added).

      The same rule applies here. According to Defendant, she has “updated” her

policy to allow individuals to present a U.S. passport, passport card, or court order

to correct the gender on their Michigan driver’s license or state ID. (Def.’s Mot. for

J. on the Pleadings, Dkt. # 48, at Pg ID 459-460.) Although this is an improvement

in Defendant’s policy because it expands the types of documentation that can be

used to correct the gender designation on a Michigan ID, it does not completely

eliminate the irrational and unjustified burdens imposed on transgender persons



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who wish to obtain accurate state-issued identification. Many people have no need,

desire, or ability to obtain a U.S. passport: some simply have no plans to travel

internationally; for low-income individuals,5 the expense of obtaining a U.S.

passport is prohibitively expensive or would impose a manifest hardship; and for

non-U.S. citizens, obtaining a U.S. passport is literally impossible. In addition, to

obtain a passport with the new gender on it, a transgender person must have a

physician sign a letter supporting the gender change, whereas many states have

policies for gender changes that allow other medical providers, such as counselors,

to certify a person’s gender change. The burden of requiring a physician’s affidavit

is significant for transgender people who face huge disparities in access to health

care, through lack of insurance, insurance or Medicaid coverage policies that often

exclude coverage for services related to gender transition,6 and frequent


5
  Transgender people are four times more likely to have a household income under
$10,000 and twice as likely to be unemployed as the typical person in the United
States. Almost one in five has been homeless at some point in their lives.
Transgender people of color have an unemployment rate four times the national
average. See Brad Sears & Lee Badgett, Beyond Stereotypes: Poverty in the LGBT
Community, Williams Institute (June 2012), Exhibit 12 to Kaplan Decl.; Jaime M.
Grant et al., Injustice at Every Turn: A Report of the National Transgender
Discrimination Survey, National Center For Transgender Equality And National
Gay And Lesbian Task Force (2011), Exhibit 13 to Kaplan Decl., at 22 (finding
that “[f]ifteen percent (15%) of our respondents reported making under
$10,000/year, nearly four times the rate of this household income category for the
general population.”).
6
 See Michigan Department of Health and Human Services, Medicaid Provider
Manual, Outpatient Therapy, Exhibit 14 to Kaplan Decl., at p. 12; Andrew M.

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discrimination by health care providers.7 In essence, Defendant’s “updated” policy

requires transgender individuals to jump through challenging bureaucratic hoops

seeking unnecessary, expensive, and in some cases unavailable documentation

from the federal government just to obtain accurate identification from the state,

whereas everyone else can simply obtain accurate ID directly. The policy thus

continues to impose a unique burden on transgender people in Michigan that is not

justified by any rational basis, let alone a compelling or important governmental

interest. 8

         Admittedly, for some transgender people (for example, those who already

have passports or can obtain one without hardship), the new policy described in

Defendant’s brief would likely prove to be a marked improvement over the

previous policy. However, even if this Court finds that Plaintiffs’ challenge to the

2011 policy is moot, which Plaintiffs dispute, Plaintiffs’ challenge to the new

policy remains. Plaintiffs’ argument at the summary-judgment and/or trial stages of


Seaman, Transgender people face discrimination in healthcare, Reuters (March
13, 2015), Exhibit 15 to Kaplan Decl.
7
    Injustice at Every Turn at 72-73.
8
 Defendants also allude to the possibility of presenting “a court order changing the
sex of the individual.” (Def.’s Mot. for J. on the Pleadings, Dkt. # 48, at Pg ID
460.) However, in Michigan there does not appear to be any known cause of
action, procedural mechanism, or established legal standard for obtaining such an
order. Therefore, this aspect of the “update” to Defendant’s policy is all but
useless.


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this case that the new policy is unconstitutional is different, and possibly more

challenging, than their challenge to the 2011 policy. But this goes only to the

merits of Plaintiffs’ legal claims, not the jurisdiction of this Court under the

mootness doctrine.

      The Supreme Court emphasized this critical distinction in Chafin v. Chafin,

133 S. Ct. 1017, 1024 (2013), warning against confusing “mootness with the

merits” and explaining that a plaintiff’s “prospects of success are . . . not pertinent

to the mootness inquiry.” Under Chafin, then, Defendant’s motion to dismiss the

case as moot is not the proper vehicle to litigate the substantive merits of Plaintiffs’

constitutional claims. Rather, Plaintiffs should be permitted to develop a record

challenging the constitutionality of the new policy and present it to the Court in the

full course of litigation. In other words, there is still a “live controversy” between

the parties: If Plaintiffs are correct in their belief that the “updated” policy remains

unconstitutional, this Court will be “able to affect the legal relations between the

parties.” Cam I, 460 F.3d at 719-20. For that reason, this case is not moot.


                                   CONCLUSION

      Defendant’s motion for judgment on the pleadings on grounds of mootness

should be denied.

                               Respectfully submitted,

                                             /s/ Michael F. Derksen


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                          CERTIFICATE OF SERVICE

      I hereby certify that on April 4, 2016, the foregoing document and its

attachments were filed electronically using the Court’s ECF system, which will

provide electronic notice to all counsel of record.

                                        /s/ Michael F. Derksen
